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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION
                               ______________________

UNITED STATES OF AMERICA,

              Plaintiff,                           Case No. 1:06:CR:196
v.
                                                   HON. GORDON J. QUIST
ARTURO HERNANDEZ
a/k/a Vampiro,

            Defendant.
______________________________/

                                           ORDER

       The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1.     The Report and Recommendation of the Magistrate Judge filed November 15, 2006,

is approved and adopted as the Opinion and Findings of this Court.

       2.     Defendant Arturo Hernandez's plea of guilty to Count One of the Indictment is

accepted. Defendant Arturo Hernandez is adjudicated guilty.

       3.     Defendant Arturo Hernandez shall be detained pending sentencing.




Dated: December 1, 2006                                  /s/ Gordon J. Quist
                                                        GORDON J. QUIST
                                                   UNITED STATES DISTRICT JUDGE
